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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI-DADE DIVISION

RICARDO DEVENGOECHEA, ) Case No.: 12-CV-23743-HUCK
Plaintiff, )
vs. )
BOLIVARIAN REPUBLIC OF )
VENEZUELA, a foreign state, )
Defendant. )
)

FINAL JUDGMENT

This action having come to trial before this Court on this December 4, 2023, and the
Court having made Findings of Fact and Conclusions of Law, and the Court having granted
Plaintiffs motion to dispense with the stay in enforcement and/or domestication of the
judgment pursuant to Fed.R.Civ.P. 62(a) and 28 U.S.C. 1963, it is

ORDERED, ADJUDGED AND DECREED that Plaintiff Ricardo Devengoechea shall
recover of the Defendant Bolivarian Republic of Venezuela the sum Nine Million Five
Hundred Thousand Dollars ($9,500,000.00) plus mandatory prejudgment interest thereon since
July 17, 2010 at the annual rate of six percent (6%) per annum in the sum Seven Million Six
Hundred Twenty- Eight Thousand Six Hundred Thirty Dollars and Ten Cents ($7,628,630.10),
making in all the total sum Seventeen Million One Hundred Twenty Eight Thousand Six
Hundred Thirty Dollars and Ten Cents ($17,128,630.10), plus taxable costs, and that Plaintiff
shall have execution therefor immediately and may enforce and domesticate this judgment
immediately without any stay or delay under Fed.R.Civ.P. 62(a) and/or 28 U.S.C. 1963.

DONE in Chambers, Miami, Florida, this 4th day of December .

Hon. Paul C. Huck
United States District Judge

